Case 2:18-mj-OO411-E.]F Document 7 Filed 07/30/18 Page 1 of 3

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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

` ease NO: 2;18-MJ~00411-ECF
In the matter of the Search of
447 South 100 W`est, Salt Lake City, UT

2000 Toyota Corolla - Utah License Plate MOTION TO'UNSEAL SEARCH
E'711V`D : WARRANT AND AFFIDAVIT
Judge Evelyn Furse

 

The United States of America, by and through the undersigned Assistant United
States Attorney, hereby moves to unseal the Search and Seizure Warrant and Affidavit in
the above-captioned case.

In support of this motion, the United States offers the following

1. The ,Search and Seizure Warrant and Affid.avit, 2:18-1\/1]~0041 1-ECF, issued
.July 19, 2018, to search and seize specific property and items listed in Attachment A and

B of the Warrant, has remained sealed since that time.

Case 2:18-mj-OO411-E.]F Document 7 Filed 07/30/18 Page 2 of 3

2. The Government no longer has a need for this Warrant to be sealed and hereby
motions the court to unseal the above Warrant in order to fulfill its discovery obligations in
this case.

Respectfully submitted, this 26th day of July, 2018.

JOHN W. HUBER

nited States Attorney

MICHAEL KENNEDY
Assistant United States Attorney

 
  
  

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IN THE UNITE]) STATES DISTRICT COURT l

DISTRICT OF UTAH, CENTRAL DIVISION

 

In the matter of the Search of Case No. 2:18CR00411 EJF
447 South 100 West, Salt Lake City, UT
200 Toyota Corolla _ ' ORDER TO UNSEAL SEARCH
UT License Plate E711VD WARRANT AND AFFIDAVIT

 

 

Upon motion of the United States of America and for good cause shoWn, it is hereby
ORDERED that the Sealed Search Warrant and Affidavit in this matter be unsealed.
DATED this day Of Juiy, 2018.

BY THE COURT:

 

EvELYN J. FURsE
United States l\/lagistrate Judge

